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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS



DOMINIQUE MIRZA and TARA                      Civil Action No. 1:19-cv-05836
LUCHETTI, individually and on behalf of all
others similarly situated,                    Hon. Charles P. Kocoras

                            Plaintiff,

       v.

IGNITE USA, LLC,

                            Defendant.


                          PLAINTIFFS’ OPPOSITION TO
                        DEFENDANT’S MOTION TO DISMISS
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                                        INTRODUCTION

        Defendant Ignite USA, LLC (“Defendant”) sold water bottles for children labeled

“Contigo Kids” with water spouts that were prone to falling off, posing a significant choking

hazard. Numerous consumers understood that Defendant’s water bottles were safe for children,

but they were not. Defendant acknowledges these facts but argues that this case should be

dismissed because it has issued a recall. The case law is clear, though, that such recalls do not

moot standing—particularly where, as here, the recall would not make consumers whole by

providing them with the full monetary and equitable relief that they seek.

        Defendant’s Rule 12(b)(6) arguments are equally unavailing. Plaintiffs’ consumer

protection claims survive because it is entirely plausible that consumers would be misled into

believing that a product named “Contigo Kids” was appropriate and safe for children to use.

And the numerous consumer complaints also indicate that Defendant knew about the defect in

the water bottles for quite some time. Plaintiffs’ implied warranty claims survive because they

provided sufficient notice and privity does not present a bar to relief given the inherent danger of

Defendant’s defective product. Finally, Plaintiffs may plead unjust enrichment in the alternative.

        Plaintiffs allege facts that are simple, clear, and powerful. Defendant promised water

bottles that were appropriate and safe for children, but they were not. Consumers, including

Plaintiffs, relied on those promises and were thereby cheated out of many millions of dollars.

Accordingly, Defendant’s motion to dismiss should be denied.

                                           ARGUMENT

I.      DEFENDANT’S RECALL DOES NOT DEFEAT STANDING

        A.     Plaintiffs Have Article III Standing

        Defendant argues that Plaintiffs’ allegations fail to establish injury in fact because

“Plaintiffs are already entitled to a cost-free remedy that gives them exactly what they bargained


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for at the time of purchase” and as a result, Plaintiffs “have no cognizable injury and therefore

lack standing under Article III.” MTD at 6. That is wrong. The recall does not moot Plaintiffs’

claims because it would not compensate them for one month or more that they would be without

their bottles, or provide them with the monetary or injunctive relief that they seek.

       Plaintiffs in this case have Article III standing because they allege that they “would not

have bought Defendant’s Products if [they] knew that the Products’ clear silicone spout can

detach, posing a severe choking hazard to her children.” FAC ¶¶ 13-14. This is sufficient. In re

Aqua Dots Prod. Liab. Litig., 654 F.3d 748, 751 (7th Cir. 2011) (“The plaintiffs’ loss is

financial: they paid more for the toys than they would have, had they known of the risks the

beads posed to children. A financial injury creates standing.”).

       Defendant argues that, despite these allegations, Plaintiffs lack Article III standing

because it has issued a recall that offers consumers a free replacement lid. But courts regularly

hold that recalls do not moot consumers’ claims for damages and injunctive relief. See, e.g.,

Sater v. Chrysler Grp. LLC, 2014 WL 11412674, at *5 (C.D. Cal. Oct. 7, 2014) (Finding that

claims were not moot, despite a recall, because the class sought compensation for “lost use of the

Class Vehicles caused by the defect.”); Martin v. Ford Motor Co., 765 F. Supp. 2d 673, 682

(E.D. Pa. 2011) (Recall program did not moot plaintiff’s claims because the court could award

money damages and order “a more expansive remedy than the one proposed in the Recall.”); In

re MacBook Keyboard Litig., 2019 WL 6465285, at *8 (N.D. Cal. Dec. 2, 2019) (Recall did “not

moot Plaintiffs’ claims because Plaintiffs seek relief beyond what the Program offers, including

monetary damages and injunctive relief”); Coffelt v. Kroger Co., 2017 WL 10543343, at *6

(C.D. Cal. Jan. 27, 2017) (“Kroger and CFR’s voluntary recall and refund program does not

defeat standing.”); Gordon v. Sig Sauer, Inc., 2019 WL 4572799, at *7 (S.D. Tex. Sept. 20,




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2019) (“Gordon’s allegation that the drop-fire defect has decreased his P320’s resale value, even

with the availability of the Voluntary Upgrade Program, is sufficient to allege economic loss that

could be redressed by a judgment ordering compensation.”).

       Similarly, here, as set out in the Amended Complaint, Defendant’s recall does not moot

Plaintiffs’ claims because it does not compensate them for their time spent without a water

bottle1 or provide them with the monetary damages or injunctive relief that they seek. See FAC ¶

7 (“Defendant has not offered any form of monetary relief to purchasers.”); id. ¶ 13

(“Defendant’s recall would not make Plaintiff Mirza whole because it would not compensate her

for the lost use of the water bottle in the interim period during which she would have to wait for

a replacement lid, or for the inflated price that she paid for a water bottle designed for children

that was actually unsafe for children to use.”); id. ¶ 14 (same); id. ¶ 57 (“Plaintiff [Luchetti]

seeks to enjoin the unlawful acts and practices described herein . . . .”); Id. ¶ 64.2 This is


1
  According to https://recall.gocontigo.com/, Defendant sends affected consumers an envelope
“within 10 business days” so that they can return their lid. Then, once consumers return their lid
and Defendant “verif[ies] it is affected”—a process of some indeterminate length— Defendant
requires an additional “3 weeks” to send the new lid. This drawn out recall process, which
would leave Plaintiffs without a water bottle for five weeks or more, is not what Plaintiffs
bargained for when they purchased their water bottles.
2
  The cases that Defendant cites in support of its argument that “loss use” does not confer
standing are inapposite. In Hadley v. Chrysler Grp., LLC, 624 F. App’x 374 (6th Cir. 2015), the
lost use alleged related to “time spent communicating” with the dealer, not time spent waiting for
a new car during the recall. In addition, “The Sixth Circuit [in Hadley] dismissed the claims on
standing grounds because, in relevant part, the plaintiffs had failed to allege that they ever
stopped using their vehicle as a result of the defect or repairs.” In re Gen. Motors LLC Ignition
Switch Litig., 257 F. Supp. 3d 372, 400 (S.D.N.Y. 2017). “Thus, the Hadley Court did not reach
the question of whether a party can recover damages for “lost time” (or, as framed in that case,
‘lost use’).” Id. Cheng v. BMW of N. Am., LLC, 2013 WL 3940815 (C.D. Cal. July 26, 2013)
does not address lost use of a product at all. To the contrary, courts regularly hold that lost use
of property confers Article III standing. See, e.g., Sater, 2014 WL 11412674, at *5; Jones v.
Fleetwood Motor Homes, 127 F. Supp. 2d 958, 965 (N.D. Ill. 2000) (Motor home purchaser
seeking loss of use damages based on coach manufacturer's alleged breach of warranty was only
required to show that motor home was unavailable while being repaired); Cancino v. Yamaha
Motor Corp., U.S.A., 2008 WL 11353628, at *10 (S.D. Ohio Mar. 17, 2008) (Plaintiffs have
adequately “pled that they suffered an economic loss in the form of the loss of the use of their


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particularly so for Plaintiff Luchetti, who brings claims under N.Y. G.B.L. §§ 349 and 350,

which provides for statutory damages of $50 and $500, respectively. Id. ¶¶ 51-64. Moreover,

Defendant’s recall appears purposefully designed to notify as few consumers as possible. Id. ¶ 5;

In re Scotts EZ Seed Litig., 304 F.R.D. 397, 416 (S.D.N.Y. 2015) (“If consumers do not realize

the [offer] exists, it cannot be a superior alternative to a class action.”). The cases that Defendant

cites at pages 6-7 of it brief are thus each distinguishable as none of those cases involved an

allegation that a recall was insufficient. Hartley v. SIG Sauer, Inc., No. 4:18-cv-00267-HFS

(W.D. Mo.) (ECF No. 41) (“[T]he Court notes that this case is different in several respects from

Hadley v. Chrysler Group LLC, 2014 WL 988962 (E.D. Mich. Mar. 13, 2014), relied on by

defendant because plaintiffs here allege that the defect has not been cured by the Voluntary

Upgrade.”).

       Defendant argues that its recall nevertheless moots Plaintiffs’ claims because it is

irrelevant that they “may have preferred to receive a refund rather than a replacement . . . .”

MTD at 7. That is incorrect. Courts around the country routinely hold that a unilateral “remedy”

of the Defendant’s choosing does not defeat standing. See In re Mattel, Inc., 588 F. Supp. 2d

1111, 1117 (C.D. Cal. 2008) (“The Court knows of no authority for the proposition that a

defendant can defeat a plaintiff's claim on standing grounds through the unilateral offering of a

remedy of the defendant’s choosing.”); Olmos v. Harbor Freight Tools USA, Inc., 2018 WL

8804820, at *5 (N.D. Cal. Dec. 24, 2018) (same); see also Leonard v. Abbott Labs., Inc., 2012

WL 764199, at *26 (E.D.N.Y. Mar. 5, 2012) (“there is no bar preventing plaintiffs from forgoing

compensation through a voluntary refund program in order to pursue their claims in a consumer


vehicles.”); In re Ford Motor Co. Speed Control Deactivation Switch Prod. Liab. Litig., 2007
WL 2421480, at *4 (E.D. Mich. Aug. 24, 2007) (“The fact that Plaintiffs were without the use of
their SCD Switch for a period of time is undisputed. This deprivation of use forms the basis of
the Loss of Use Plaintiffs’ claims. Such loss of use is a recognizable claim.”).


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class action. In contrast . . . the conditions of the Recall program were not part of the ‘benefit-of-

the-bargain’ when they purchased the product.”); In re: Gen. Motors LLC Ignition Switch Litig.,

2016 WL 3920353, at *40 (S.D.N.Y. July 15, 2016) (“Because the recalls, even those sufficient

to remedy the defects, do not compensate [the] [p]laintiffs fully for the damages sought here, the

Court declines to exercise its discretion to dismiss the remaining claims as prudentially moot.”).

       B.      The Prudential Mootness Doctrine Is Inapplicable

       Defendant also argues that even if the Court finds that Plaintiffs have Article III standing,

it should invoke the prudential mootness doctrine to hold that “plaintiff’s claims are, in effect”

worthless” given its recall. MTD at 9. This is incorrect. Prudential mootness does not apply

here because Plaintiffs are seeking damages. In addition, the recall will not make Plaintiffs

whole and it has no legal effect.

       “[B]ecause prudential mootness is an equitable doctrine, courts have held that the

doctrine should apply only to ‘claims for equitable relief’ which ‘appeal to the remedial

discretion of the courts.’” Philips v. Ford Motor Co., 2016 WL 693283, at *7 (N.D. Cal. Feb.

22, 2016) (quoting Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208, 1210 (10th Cir.

2012)3) (declining to apply the prudential mootness doctrine where plaintiff sought damages in

addition to injunctive and declaratory relief); Sprint Nextel Corp. v. Middle Man, Inc., 822 F.3d

524, 529 (10th Cir. 2016) (“Ordinarily an action can become prudentially moot only when the

claim involves prospective equitable or declaratory relief. By definition, an award of nominal

damages involves a remedy that is ‘legal,’ not ‘equitable.’ Thus, the doctrine of prudential

mootness would ordinarily not apply.”) (citations omitted).4


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  In Winzler, plaintiff sought only injunctive relief.
4
  In addition, no court in the Seventh Circuit has ever applied the prudential mootness doctrine in
the context of a consumer class action, and this Court should decline to do so as well. In re
MacBook Keyboard Litig., 2019 WL 6465285, at *7 (N.D. Cal. Dec. 2, 2019) (“The Ninth


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       But even if the prudential mootness doctrine can be applied to cases involving damages,

it is inapplicable here. In Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208 (10th Cir.

2012), the case upon which Defendant relies most heavily, there was no allegation that the recall

at issue was ineffective in any respect. But here, as set out above, Defendant’s recall does not

make consumers whole because it does compensate them for their lost time without a water

bottle, does not provide them with monetary damages or injunctive relief, and lacks any

meaningful notice program. Philips, 2016 WL 693283, at *8 (Rejecting application of the

prudential mootness doctrine because plaintiffs “request[ed] relief—damages for losses in

market value and reimbursement without regard to a specific deadline—that Ford’s recall [did]

not provide.”); In re MacBook Keyboard Litig., 2019 WL 6465285, at *8 (Unlike in other cases,

“Plaintiffs allege that the [recall] Program is ineffective.”); Verde v. Stoneridge, Inc., 2015 WL

5915262, *4 (E.D. Tex. Sept. 23, 2015) (Declining to apply the prudential mootness doctrine,

even though defendants had announced that they would voluntarily undertake a National

Highway Traffic Safety Administration (“NHTSA”)-supervised recall, because “an incomplete

offer that does not meet plaintiff’s full demand does not render claims moot.”); Sater, 2014 WL

11412674 (Holding that the prudential mootness doctrine did not apply, despite NHTSA-

supervised recall because a lawsuit would “afford[] relief the recall does not provide.”); McCabe

v. Daimler Ag, 2015 WL 11199196, at *5 (N.D. Ga. Aug. 19, 2015) (“Given that the extended

warranty offered by MBUSA does not provide Plaintiffs with complete relief in this case, the

Court declines to exercise its discretion to dismiss Plaintiffs’ claims under the doctrine of

prudential mootness.”).


Circuit has applied prudential mootness only in the bankruptcy context, when there are no assets
left to distribute. Thus, the court will not apply the prudential mootness doctrine here in the
context of a consumer protection and breach of warranty case.”) (citations and quotation marks
omitted).


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       Winzler also presents a very different case because the recall there was overseen by

NHTSA and the defendant was obligated by statute to undertake certain related measures, such

as notice to all consumers. Winzler, 681 F.3d at 1209. Here, on the other hand, Defendant’s

recall “is being conducted in conjunction with the U.S. Consumer Products Safety Commission,”

MTD at 1, which means there are no set standards for notice or compensation and there are

essentially no ramifications for noncompliance. Under CPSC regulations, a company may

submit a voluntary “corrective action plan” to correct an alleged violation of the consumer

product safety laws, with the relevant regulation stating as follows:

               A corrective action plan is a document, signed by a subject firm,
               which sets forth the remedial action which the firm will voluntarily
               undertake to protect the public, but which has no legally binding
               effect. The Commission reserves the right to seek broader
               corrective action if it becomes aware of new facts or if the
               corrective action plan does not sufficiently protect the public.

16 C.F.R. § 1115.20(a) (emphasis added). On July 31, 2008, Congress passed the Consumer

Product Safety Improvement Act of 2006, which clarifies that “[i]n accordance with the

provisions of [the CPSA], the [CPSC] may not construe any such Act as preempting any cause of

action under State or local common law or State statutory law regarding damage claims.” See

H.R. 4040, 110th Cong. § 231(a) (2008) (emphasis added). As such, Defendant’s voluntary

recall does not warrant application of the prudential mootness doctrine:

               Defendants’ reliance on Winzler v. Toyota Motor Sales U.S.A.,
               Inc., 681 F.3d 1208 (10th Cir. 2012) is misplaced. Winzler is a
               prudential mootness case where the recall process at issue was
               overseen by the National Highway Transportation Safety
               Administration (“NHTSA”), and the defendant was obligated by
               statute to undertake certain measures in instituting that recall. Id.
               at 1209. Here, Plaintiffs do not allege, and there is no judicially
               noticeable evidence of, a “remedial promise from a coordinate
               branch in hand,” id. at 1210, but simply a voluntary recall effort
               initiated by Standard and Hyland’s without any detail as to the
               procedures followed or the presence of “the great grinding gears of
               a statutorily mandated and administratively overseen national


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                recall process,” id. at 1211. Standard and Hyland’s are not alleged
                to have a statutory obligation to notify consumers of the defect, nor
                are they alleged to have a “statutory duty to remedy the defect or
                noncompliance.” Id. Furthermore, in Winzler, the plaintiff
                requested that (1) Toyota notify all owners of the defect and (2)
                Toyota repair or replace any faulty parts at no cost; the recall did
                both of these things. See id. Here, by contrast, Plaintiffs seek to
                recover damages in addition to declaratory and injunctive relief.
                (See generally Am. Compl.) Those damages, as discussed above,
                may exceed the amount offered by recall based on the availability
                of statutory damages.

O’Neill v. Standard Homeopathic Co., 346 F. Supp. 3d 511, 524 n.4 (S.D.N.Y. 2018).

Unsurprisingly, Defendant does not cite to a single case in which prudential mootness was

applied in a case involving a CPSC recall. That is because “[t]he CPSC regulations at issue

explicitly state that actions taken in a voluntary corrective action plan have ‘no legally binding

effect,’ and that the CPSC ‘reserves the right to seek broader corrective action.’” In re Mattel,

Inc., 588 F. Supp. 2d at 1115 (citing 16 C.F.R. § 1115.20(a)).

II.      PLAINTIFFS SUFFICIENTLY ALLEGE VIOLATIONS OF CONSUMER
         PROTECTION STATUTES

         A.     Plaintiffs Sufficiently Allege That “Contigo Kids” Misleads Consumers Into
                Thinking Defendant’s Products Are Safe For Kids To Use

         Defendant argues that “Contigo Kids” is “simply the product’s name” and is not

actionable as a concrete representation. MTD at 12. That is wrong. Just as courts have found

regarding many other products, the name of a product can deceive reasonable consumers.

         Under N.Y. G.B.L. §§ 349 and 350, Plaintiff need only allege that Defendant engaged in

misleading, consumer-oriented conduct that caused injury. See, e.g., Silva v. Smucker Nat.

Foods, Inc., 2015 WL 5360022, at *9 (E.D.N.Y. Sept. 14, 2015). Similarly, a claim of deceptive

conduct under the UTPCPL requires an allegation of “conduct that is likely to deceive a

consumer acting reasonably under similar circumstances.” Seldon v. Home Loan Servs., Inc.,

647 F. Supp. 2d 451, 470 (E.D. Pa. 2009). Here, Plaintiffs’ allegations meet both standards. It is


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entirely plausible that a reasonable consumer seeing a water bottle labeled “Contigo Kids” would

understand that the bottle was appropriate and safe for children to use.

       That “Contigo Kids” is the name of the product at issue is irrelevant. In fact, numerous

courts have held that the name of a product can constitute a representation about the product’s

characteristics. See, e.g., Goldemberg v. Johnson & Johnson Consumer Companies, Inc., 8 F.

Supp. 3d 467, 479 (S.D.N.Y. 2014) (Plaintiffs adequately alleged that a product called “Aveeno

Active Naturals” was misleading because it was not actually natural); Ackerman v. Coca-Cola

Co., 2010 WL 2925955, at *15 (E.D.N.Y. July 21, 2010) (“The FDA has recognized that product

names such as “vitaminwater” can be deceptive . . . .); Korte v. Pinnacle Foods Grp., LLC., 2018

WL 1508855, at *4 (S.D. Ill. Mar. 27, 2018) (“[W]hether a reasonable consumer would be

deceived by the products’ name and label and a reasonable consumer’s understanding of the

terms ‘E.V.O.O.’ and ‘Made With Extra Virgin Olive Oil’—are not so clear-cut.”); Porter v.

NBTY, Inc., 2019 WL 5694312, at *3 (N.D. Ill. Nov. 4, 2019) (“Here, the product name, ‘Body

Fortress Super Advanced Whey Protein,’ . . . may have misled plaintiffs into believing that the

only type of protein in the product was whey.”); Gubala v. CVS Pharmacy, Inc., 2016 WL

1019794, at *12 (N.D. Ill. Mar. 15, 2016) (“Plaintiff has adequately alleged a disputed issue of

fact as to whether the Product name is misleading in that it suggests that the protein in the

Product is comprised exclusively of pure whey protein.”); In re 5-hour ENERGY Mktg. & Sales

Practices Litig., 2014 WL 5311272, at *23 (C.D. Cal. Sept. 4, 2014) (“[I]t is plausible that a

reasonable consumer would be deceived or misled” by product name “5-hour ENERGY.”).

Against this backdrop, Defendant’s argument makes no sense.




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       B.      Plaintiffs Sufficiently Allege An Actionable Omission

       Defendant argues that Plaintiffs’ claims under Pennsylvania’s UTPCPL and New York’s

GBL fail because “the FAC contains no factual allegations establishing that Ignite knew of the

alleged defect at the time Plaintiffs purchased their water bottles.” MTD at 14. That is wrong.

       First, Defendant misstates the law. Pennsylvania’s UTPCPL “does not require proof of

the Defendant’s knowledge.” In re Actiq Sales & Mktg. Practices Litig., 790 F. Supp. 2d 313,

321 (E.D. Pa. 2011); see also id. (“The UTPCPL merely requires a plaintiff to show that the

Defendant caused the likelihood of confusion concerning the goods in question. The result is a

lower hurdle for the plaintiff to surmount.”) (emphasis in original). Similarly, actionable

omissions under New York’s GBL do not require allegations of scienter. See Dixon v. Ford

Motor Co., 2015 WL 6437612, at *8 (E.D.N.Y. Sept. 30, 2015) (“A plaintiff can state a claim for

omission under the GBL where the business alone possesses material information that is relevant

to the consumer and fails to provide this information.”); POM Wonderful LLC v. Organic Juice

USA, Inc., 2010 WL 3912222, at *3 (S.D.N.Y. Sept. 29, 2010) (“Claims under G.B.L. § 350

require a showing that ‘the defendant made …. omissions that were likely to mislead a

reasonable consumer under the circumstances.’”) (quoting Solomon v. Bell Atl. Corp., 777

N.Y.S.2d 50, 54-55 (N.Y. App. Div. 2004)).

       Regardless, Plaintiffs allege that Defendant had exclusive knowledge of the Products’

defect and omitted this material information from Plaintiffs and class members. See FAC ¶ 3

(“Defendant had exclusive knowledge of the defect, which was not known to Plaintiffs or Class

Members.”); id. ¶ 9 (“Defendant sold the Products to unsuspecting consumers upon the

affirmative misrepresentation and/or material omission that the Products were fit for their

intended purpose as water bottles safe for children to use. None of these customers would have

purchased the Products had they known of this highly material fact that the Products’ spout is


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prone to detachment, thus posing a severe choking hazard to children.”).5 That is sufficient.

Szymczak v. Nissan N. Am., 2011 WL 7095432, at *16 (S.D.N.Y. Dec. 16, 2011) (denying

motion to dismiss GBL claim where the plaintiffs alleged that manufacturer failed to disclose a

defect and that the failure to disclose was likely to mislead a reasonable consumer); Garcia v.

Chrysler Group LLC, 2015 WL 5123134, at *2, 21 (S.D.N.Y. Sept. 1, 2015) (denying motion to

dismiss GBL claim where the plaintiffs alleged that manufacturer knew that vehicle component

system was prone to sudden failure and failed to disclose the defect to consumers); Tomassini v.

FCA U.S. LLC, 2015 WL 3868343, at *7 (N.D.N.Y. June 23, 2015) (“[A] business’s failure to

disclose to consumers’ material, relevant information the business alone possesses is actionable

under [GBL] § 349 without reference to any special relationship between the consumer and the

business.”) (citing Oswego Laborers’ Local 214 Pension Fund v. Marine Midland Bank, N.A., 85

N.Y.2d 20, 26 (1995)).

       Second, even if it were required, Plaintiffs’ FAC gives rise to a plausible inference that

Defendant knew about the defect at the time Plaintiffs purchased their Products. That is because

“Defendant has known about the defective nature of the Products long before they issued the

recall, and well before Plaintiffs purchased the Products. Defendant has admitted that it received

149 reports of the spout detaching, including 18 reports of spouts ending up in children’s

mouths.” FAC ¶ 8 (emphasis added). It strains credulity to think that Defendant was unaware of

the Products’ defect despite an onslaught of consumer complaints in the 15-month span during

which the Products were sold. Construing Plaintiffs’ allegations “in the light most favorable to




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 See also FAC ¶ 55 (“The foregoing deceptive acts and practices are misleading in a material
way because they fundamentally misrepresent the characteristics of the Products to induce
consumers to purchase same. Moreover, had the omitted information been disclosed, Plaintiff
Luchetti would have been aware of it and not purchased the Product.”).


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the nonmoving party,” that is sufficient. Kolbe & Kolbe Health & Welfare Benefit Plan v.

Medical College of Wisconsin, Inc., 657 F.3d 496, 502 (7th Cir. 2011).

       C.      The Economic Loss Rule Does Not Bar Plaintiffs’ Claims

       Defendant argues that the economic loss doctrine bars Plaintiff Mirza’s claims under

Pennsylvania Law. That is incorrect. As one district court explained, Werwinski v. Ford Motor

Co., 286 F.3d 661 (3d Cir. 2002)—the principle case upon which Defendant relies—“no longer

has any vitality.”

               When it was decided, there was no guidance from Pennsylvania
               courts, leading the Third Circuit to predict how Pennsylvania’s
               highest court would rule. Werwinski, 286 F.3d at 675. The
               Pennsylvania courts, the highest court and the intermediate
               appellate courts, had not yet addressed the issue. Since
               Werwinski issued, the Pennsylvania courts have spoken. They
               have held that the economic loss doctrine does not apply
               to UTPCPL claims.

Kantor v. Hiko Energy, LLC, 100 F. Supp. 3d 421, 427 (E.D. Pa. 2015) (emphasis added); see

also Greene v. Sears Prot. Co., 2017 WL 1134484, at *3 (N.D. Ill. Mar. 27, 2017) (declining to

dismiss UTPCPL claims based on the economic loss doctrine); Knight v. Springfield Hyundai, 81

A.3d 940, 952 (Pa. Super. Ct. 2013) (UTPCPL claims are not subject to the economic loss

doctrine because they are statutory claims that do not sound in negligence.); Dixon v.

Northwestern Mutual, 146 A.3d 780, 790 (Pa. Super. Ct. 2016) (“Dixon’s UTPCPL claim is not

barred by the economic loss doctrine.”); Lovelace v. Nationwide Mut. Ins. Co., 2018 WL

3818911, at *2 (E.D. Pa. Aug. 10, 2018) (“Since Werwinski was decided sixteen years ago, the

Pennsylvania Superior Court has disagreed with the Third Circuit’s holding in Werwinski. . . .

This Court concludes that the clear pronouncement by the Pennsylvania Superior Court in

Knight—subsequently followed in Dixon—constitutes a clear change in law that has proved

incorrect the Third Circuit’s prediction in Werwinski.”); Busch v. Domb, 2017 WL 6525779, at



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*4 (E.D. Pa. Dec. 21, 2017) (“The Court will follow the rulings of the Pennsylvania Superior

Court to hold that the economic loss doctrine does not apply to a UTPCPL claim.”); Landau v.

Viridian Energy PA LLC, 223 F. Supp. 3d 401, 415 (E.D. Pa. 2016) (“[N]ow that the Superior

Court has twice rejected Werwinski, I refuse to dismiss the UTPCPL claim on the basis of the

economic loss doctrine . . . .”); Kerr v. State Farm Mut. Auto. Ins. Co., 2018 WL 5809989, at *5

(W.D. Pa. Nov. 6, 2018) (“This Court is persuaded that it should also follow the precedents of

Knight and Dixon. Therefore, the Plaintiff’s UTPCPL claim is not barred by the economic loss

doctrine.”); Sosso v. ESB Bank, 2016 WL 3855031, at *7 (W.D. Pa. July 15, 2016) (“As such,

this Court concludes that it is no longer bound by Werwinski and is required to follow the

precedential ruling of the Pennsylvania Superior Court in Knight which held that claims brought

under the UTPCPL are not barred by the economic loss doctrine.”).

       Although Defendant insists “the Third Circuit recently signaled that Werwinski remains

good law notwithstanding the 2013 Pennsylvania state court case,” MTD at 16, that too is

incorrect. Not only does Berkery v. Verizon Comm’ns Inc., 658 F. Appx. 172 (3d Cir. 2016) fail

to address the state law cases contradicting Werwinski, but that case expressly states that it “does

not constitute binding precedent” pursuant to Third Circuit Internal Operating Procedures 5.7.

Moreover, many of the decisions declining to apply Werwinski post-date the Third Circuit’s

decision in Berkery.

III.   PLAINTIFFS STATE A CLAIM FOR BREACH OF IMPLIED WARRANTY

       A.      A Choice-Of-Law Determination Is Not Necessary At This Stage

       Defendant argues that Plaintiffs’ implied warranty claims should be dismissed because

“the complaint fails to identify the jurisdiction(s) under which they brings [sic] their individual

claims.” MTD at 16-17. That is incorrect. As another court in this district explained, “[t]hat

argument is meritless; because Kostovetsky resides in Illinois, Illinois law likely applies . . . .”


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Kostovetsky v. Ambit Energy Holdings, LLC, 2016 WL 105980, at *8 (N.D. Ill. Jan. 8, 2016). At

this stage of the proceedings, a choice-of-law analysis is premature. Moore v. Magiera Diesel

Injection Servs., Inc., 2019 WL 2502029, at *4 (N.D. Ill. June 17, 2019) (“[T]he court will not at

this stage determine which State’s choice-of-law rules apply, let alone which State’s substantive

law governs the state law claims.”); Tindall Corp. v. Mondelez Int’l, Inc., 2015 WL 996847, at

*3 (N.D. Ill. Mar. 3, 2015) (“At this stage of the case, the choice of law does not matter”). Still,

to the extent that the Court requires Plaintiffs to specify a jurisdiction for each of their claims,

Plaintiffs can easily amend to do so.6

       B.      Plaintiffs Provided Sufficient Notice

       Next, Defendant argues “under New York law, Plaintiff Luchetti’s breach of implied

warranty of merchantability claim fails as a matter of law” because “she did not provide notice to

Ignite as required by New York law.”7 That is wrong. Here, “the notice provision . . . is

inapplicable . . . because Rule 23 governs, and Rule 23 contains no notice requirement.” Mace v.

Van Ru Credit Corp., 109 F.3d 338, 346 (7th Cir. 1997); see also Mazzanti v. Gen. Elec. Co.,

2017 WL 923905, at *6, n.4 (D. Conn. Mar. 7, 2017) (“To the extent that pre-suit notice is

required . . . the state notice provision is preempted by Federal Rule of Civil Procedure 23.”).

       Here, nonetheless, Defendant received sufficient notice because it received a notice letter

two months before Plaintiffs filed their Amended Complaint. Moreover, the initial complaint

itself (ECF No. 1) is sufficient to place Defendant on notice of its breaches of warranty. In re

Everfresh Beverages, Inc., 238 B.R. 558, 582 (Bankr. S.D.N.Y. 1999) (“The Proposed Amended



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  Defendant advances the same argument against Plaintiffs’ claims for unjust enrichment, but the
same reasoning applies there as well.
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  Notably, Defendant does not argue for the dismissal of Plaintiff Mirza’s implied warranty claim
based on notice or privity. At minimum, Plaintiff Mirza’s implied warranty claim should
proceed.


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Complaint sufficiently puts each Defendant on notice as to the claims against it.”); Marin v.

Apple-Metro, Inc., 2017 WL 4950009, at *10 (E.D.N.Y. Oct. 4, 2017) (“Accordingly, the Court

finds that the Dove Complaint provides sufficient allegations to put defendants on notice of

plaintiffs’ claim…”).

       C.      Privity

       Defendant also argues that Plaintiff Luchetti’s implied warranty claim fails because “she

is not in privity with Ignite.” MTD at 17-18. But Defendant ignores that “‘New York

recognizes an exception to [the privity] principle where the product in question is a thing of

danger.’” Wade v. Tiffin Motorhomes, Inc., 686 F. Supp. 2d 174, 191 (N.D.N.Y. 2007) (quoting

Hubbard v. Gen. Motors Corp., 1996 WL 274018, at *5 (S.D.N.Y. May 22, 1996) (citing

Goldberg v. Kollsman Instr. Corp., 12 N.Y.2d 432, 436 (1963)). More specifically, “where an

article is of such a character that when used for the purpose for which it is made it is likely to be

a source of danger to several or many people if not properly designed and fashioned, the

manufacturer as well as the vendor is liable, for breach of law-implied warranties, to the persons

whose use is contemplated.” Id. Here, the Products are water bottles designed specifically for

children yet their spouts are defective and detach into children’s mouths, that by Defendant’s

own admission “pos[e] a choking hazard to children.” FAC ¶ 2; see also Swaney Decl., Ex. A

(ECF No. 22-3) (admitting the Products pose choking hazards to children). Accordingly, there is

no dispute the Products are “things of danger,” and thus fall within the privity exception.

IV.    PLAINTIFFS MAY PLEAD UNJUST ENRICHMENT IN THE ALTERNATIVE

       Defendant argues that Plaintiff Luchetti’s unjust enrichment claim under New York law

should be dismissed because it “simply duplicates” her other claims. MTD at 20. That is

incorrect. Fed. R. Civ. P. 8(d)(3) provides that “[a] party may state as many separate claims or

defenses as it has, regardless of consistency.” As such, courts applying New York law regularly


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permit unjust enrichment claims to be pled in the alternative. Nat’l Convention Servs., L.L.C. v.

Applied Underwriters Captive Risk Assurance Co., Inc., 239 F. Supp. 3d 761, 795 (S.D.N.Y.

2017) (“[E]ven though Plaintiff[] may not ultimately recover under both the breach of contract

and unjust enrichment claims, courts in this Circuit routinely allow plaintiffs to plead such

claims in the alternative.”) (emphasis in original).

                                          CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that the Court deny Defendant’s

Motion in its entirety. To the extent the Court deems any of Plaintiffs’ allegations insufficient,

Plaintiffs respectfully request leave to amend.



Dated: December 31, 2019                               CARLSON LYNCH LLP

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct unredacted copy of

the foregoing Plaintiffs’ Opposition to Defendant’s Motion to Dismiss was served this 31st day

of December, 2019, on all counsel of record via email.

                                                   /s/ Katrina Carroll
                                                      Katrina Carroll
